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                 UNITED STATES DISTRICT COURT                              m         F:
                                                                               CO
                SOUTHERN DISTRICT OF GEORGIA                          P1       rn
                                                                               c-:


                          SAVANNAH DIVISION
                                                                      C)
                                                                      >
AL WELCH                             )
                                     )
                                     )        Case No. CV414-.231
V.                                   )                  CR41O-159
                                     )
UNITED STATES OF AMERICA             )
                                    ORDER
        After a careful de novo review of the record in this case, the Court

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed. Accordingly, the Report and Recommendation of

the Magistrate Judge is adopted as the opinion of the Court.
                                /
       SO ORDERED this                   of                 ) 2014.




                                     B. AVANT EDENFIELD      /
                                     UNITED STATES DISTRICT/JUDG
                                     SOUTHERN DISTRICT OF GEORGIA
